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                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF LOUISIANA

    In re:                                           )
                                                     )    Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH OF                     )
    THE ARCHDIOCESE OF NEW ORLEANS                   )    Section “A”
                                                     )
                        Debtor.                      )    Chapter 11



                                         NOTICE OF HEARING

             PLEASE TAKE NOTICE that Rock Creek Advisors LLC filed the Tenth Interim

   Application for Allowance and Payment of Compensation and Reimbursement of Expenses of Rock

   Creek Advisors, as Pension Financial Advisor for the Official Committee of Unsecured Creditors

   for the Period November 1, 2024 Through January 31, 2025 [Docket No. 3859] (the

   “Application”) on March 27, 2025.

             PLEASE TAKE FURTHER NOTICE that a hearing on the Application will be held

   before the Honorable Judge Meredith S. Grabill of the United States Bankruptcy Court for the

   Eastern District of Louisiana, Section A, on April 17, 2025 at 1:30 P.M. Central Standard Time.

             PLEASE TAKE FURTHER NOTICE that, pursuant to General Order 2021-2, parties in

   interest and their counsel may attend the hearing either IN PERSON, in Courtroom B-709, 500

   Poydras Street, New Orleans, LA 70130, or VIA TELEPHONE. The dial-in information for

   Section A is 1-504-517-1385; Access Code 129611.

             PLEASE TAKE FURTHER NOTICE that if you object to the relief requested in the

   Application, you must file a written objection no later than seven (7) days before the hearing date.




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            You must serve a copy of your response on the person who sent you this notice. Otherwise,

   the Court may treat the Application as unopposed and grant the relief requested.



    Dated: March 27, 2025                Respectfully submitted,


                                         /s/ Andrew W. Caine
                                         James I. Stang (CA Bar No. 94435) – admitted pro hac vice
                                         Andrew W. Caine (CA Bar No.110345) – admitted pro hac vice
                                         Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd., Suite 1300
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                                         Telephone: (310)-277-6910
                                         Facsimile: (310)-201-0760
                                         Email: jstang@pszjlaw.com
                                                 acaine@pszjlaw.com

                                         Co-Counsel to the Official Committee of Unsecured Creditors




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                                   CERTIFICATE OF SERVICE

          I hereby caused a true and correct copy of the foregoing Notice of Hearing to be served on
   March 27, 2025 upon all parties by electronic case filing for those parties receiving notice via the
   Court’s Electronic Case Filing system, and on all other parties requiring service under the Court’s
   Ex Parte Order Authorizing the Debtor to Limit Notice and Establishing Notice Procedures
   through the Master Service List via first-class United States mail, postage prepaid, to be sent on
   March 27, 2025.

                                                 /s/ Nancy H. Brown
                                                     Nancy H. Brown




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